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                          EXHIBIT 1




                             EXHIBIT 1
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                                                          DATE FILED: June 12, 2018 10:47 AM
                                                          FILING ID: 960FB5701357D
   District Court, Boulder County, Colorado               CASE NUMBER: 2018CV30556
   Court Address: 1777 6th Street, Boulder, CO 80302

   Plaintiff: DEAN HOUSER, individually and on behalf of all
   others similarly situated,

                 - vs -

   Defendants: CENTURYLINK, INC., GLEN F. POST III, R.
   STEWART EWING, JR., DAVID D. COLE, WILLIAM A.
   OWENS, MARTHA H. BEJAR, VIRGINIA BOULET,
   PETER C. BROWN, W. BRUCE HANKS, JEFFREY K.
   STOREY, STEVEN T. CLONTZ, MARY L. LANDRIEU,                 ▲ COURT USE ONLY ▲
   GREGORY J. MCCRAY, HARVEY P. PERRY, MICHAEL
   J. ROBERTS, LAURIE A. SIEGEL, SUNIT S. PATEL, and
                                                               Case Number:
   Does 1-25, inclusive,

   Attorney for Plaintiff:
   Rusty E. Glenn                                              Div.:       Ctrm:
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   Atty. Reg. #: 39183

                          CLASS ACTION COMPLAINT FOR
                     VIOLATIONS OF THE SECURITIES ACT OF 1933
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           Plaintiff Dean Houser (“plaintiff”), individually and on behalf of all others similarly
   situated, by plaintiff’s undersigned attorney, for plaintiff’s complaint against defendants, alleges
   the following based upon personal knowledge as to plaintiff and plaintiff’s own acts and upon
   information and belief as to all other matters based on the investigation conducted by and
   through plaintiff’s attorneys, which include, among other things, a review of U.S. Securities and
   Exchange Commission (“SEC”) filings by CenturyLink, Inc. (“CenturyLink” or the
   “Company”), Company press releases, earnings calls, analysis reports, and media reports about
   the Company. Plaintiff believes that substantial additional evidentiary support will exist for the
   allegations set forth herein after a reasonable opportunity for discovery.
                                 I.      NATURE OF THE ACTION

          1.      This is a securities class action on behalf of all persons and entities who
   purchased or acquired CenturyLink, Inc. stock pursuant or traceable to the Company’s
   Registration Statement and Prospectus (together, the “Offering Documents”) issued in
   connection with the merger of CenturyLink with Level 3 Communications, Inc. (“Level 3”), and
   their subsidiaries, pursuant to which CenturyLink acquired Level 3 pursuant to a merger
   agreement (the “Merger”). This action asserts claims under the Securities Act of 1933 (“1933
   Act”) against CenturyLink and certain members of the Company’s executive officers, directors,
   and authorized representatives.

                                II.    JURISDICTION AND VENUE

           2.     The claims alleged herein arise under §§11, 12(a)(2) and 15 of the 1933 Act, 15
   U.S.C. §§ 77k, 77l (a)(2) and 77o. Jurisdiction is conferred by §22 of the 1933 Act and venue is
   proper pursuant to §22 of the 1933 Act. This action is not removable under §22 of the 1933 Act,
   which explicitly states that “[e]xcept as provided in section 16(c), no case arising under this title
   and brought in any State court of competent jurisdiction shall be removed to any court in the
   United States.” See Cyan Inc. v. Beaver County Employees Ret. Fund, 138 S.Ct. 1061, 1065
   (2018).

          3.      The violations of law complained of herein occurred in substantial part in this
   County. Defendant CenturyLink conducts operations in this County and several of the individual
   defendants, including Storey and Patel, reside in this county.

                                           III.    PARTIES

          4.      Plaintiff Dean Houser acquired shares of CenturyLink stock in exchange for
   Level 3 stock and has been damaged thereby. Mr. Houser received shares of CenturyLink stock
   pursuant to the Registration Statement and Prospectus issued in connection with the Merger.

         5.    Defendant CenturyLink is an international facilities-based communications
   company engaged primarily in providing an integrated array of services to residential and


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   business customers. The Company’s communications services include local and long-distance
   voice, virtual private network ("VPN") data network, private line (including business data
   services), Ethernet, information technology, wavelength, broadband, colocation and data center
   services, managed services, professional and other services provided in connection with selling
   equipment, network security and various other ancillary services.           The Company is
   headquartered in Monroe Louisiana at 100 CenturyLink Drive, Monroe, LA 71203, and conducts
   substantial business in the United States, including within this County.

           6.     Defendant Glen F. Post III (“Post”) was CenturyLink’s Chief Executive Officer
   (“CEO”) and President at the time of the Merger. Post has also been a Director of the Company
   since 1985. Post signed the false and misleading Registration Statement and solicited Level 3
   shareholders to vote in favor of the Merger and purchase the CenturyLink stock which was
   registered pursuant to the Registration Statement and Prospectus.

          7.      Defendant R. Stewart Ewing, Jr. (“Ewing”) was, at the time of the Merger,
   CenturyLink’s Executive Vice President, Chief Financial Officer, and Assistant Secretary.
   Ewing retired from CenturyLink after the Merger closed, but had worked at the Company for 28
   years and during such time was responsible for the Company’s financial activities, including the
   Accounting, Treasury, Supply Chain, Real Estate and Internal Audit functions. As part of the
   Merger, Ewing received performance-based bonuses and severance payments of over $2.4
   million. Ewing signed the false and misleading Registration Statement.

           8.     Defendant David D. Cole (“Cole”) served as Executive Vice President and
   Controller of CenturyLink at the time of the Merger. In these roles, Cole served as the
   Company's principal accounting officer. Cole resigned from these positions effective April 8,
   2018, but continues to provide services to the Company in a part-time, non-officer role following
   that date. Cole signed the Offering Documents.

          9.     Defendant William A. Owens (“Owens”) served as a director and Chairman of the
   Board of CenturyLink as of the time the Merger Agreement was signed. Owens signed the false
   and misleading Registration Statement.

           10.      Defendant Martha H. Bejar (“Bejar”) is a director of the Company and was a
   director at the time of the Merger. Bejar signed the false and misleading Registration Statement.

           11.     Defendant Virginia Boulet (“Boulet”) is a director of the Company and was a
   director at the time of the Merger. Boulet has been a director of CenturyLink since 1995. Since
   March 2014, Ms. Boulet has served as Managing Director of Legacy Capital LLC, an investment
   banking firm based in New Orleans, Louisiana. Previously, she was Special Counsel at Adams
   and Reese LLP, a law firm, from March 2002 to March 2014. She practiced as a corporate and
   securities attorney for Phelps Dunbar, L.L.P. from 1992 to 2002 and for Jones Walker L.L.P.
   from 1983 to 1992. She is currently a director of W&T Offshore, Inc. Ms. Boulet is a member of
   the Nominating and Corporate Governance (Chair) and Human Resources and Compensation
   Committees of CenturyLink. Boulet signed the false and misleading Registration Statement.



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           12.      Defendant Peter C. Brown (“Brown”) is a director of the Company and was a
   director at the time of the Merger. Brown has been a director of the Company since July 1, 2009,
   and is a member of the Audit Committee and Chairman of the Company’s Risk Evaluation
   Committee. Brown signed the false and misleading Registration Statement.

          13.     Defendant Jeffrey K. Storey (“Storey”) is the President, COO, and a director of
   CenturyLink. He previously served as the President, CEO, and a director of Level 3
   Communications and was appointed to serve as a director of CenturyLink effective as of
   November 1, 2017. The Registration Statement named Storey as a person who was to be
   appointed to the CenturyLink Board as part of the Merger. Storey is a resident of Boulder.

          14.     Defendant Steven T. Clontz (“Clontz”) is a director of CenturyLink. He was
   appointed to serve as a director of CenturyLink effective as of November 1, 2017. The
   Registration Statement named Clontz as a person who was to be appointed to the CenturyLink
   Board as part of the Merger.

           15.     Defendant W. Bruce Hanks (“Hanks”) is a director of the Company and was a
   director at the time of the Merger. Hanks has been a director of the Company since 1992. Since
   May 31, 2017, he has served as non-executive Vice Chairman of the Board of Directors of
   CenturyLink. He has served as a consultant with Graham, Bordelon, Golson and Gilbert, Inc., an
   investment management and financial planning company, since December 1, 2005. From March
   2001 to June 2004, Mr. Hanks served as Athletic Director of the University of Louisiana at
   Monroe. From August 1980 to March 2001, he held various executive positions at CenturyLink,
   including Chief Operating Officer, Senior Vice President -- Corporate Development and
   Strategy, Chief Financial Officer, Senior Vice President -- Revenues and External Affairs, and
   President -- Telecommunications Services. Prior to then, Mr. Hanks worked as a certified public
   accountant with Peat, Marwick & Mitchell for three years. He is currently an advisory director of
   IberiaBank Corporation. Mr. Hanks also previously served on the executive boards of several
   telecommunications industry associations and the boards of other publicly-owned companies.
   Mr. Hanks is a member of the Audit (Chair) and Risk Evaluation Committees. Hanks signed the
   false and misleading Registration Statement.

           16.     Defendant Mary L. Landrieu (“Landrieu”) is a director of the Company and was a
   director at the time of the Merger. Landrieu has been a director since November 2015 and is a
   member of the Company’s Nominating and Corporate Governance and Risk Evaluation
   Committees. Landrieu signed the false and misleading Registration Statement.

           17.     Defendant Gregory J. McCray (“McCray”) served as a director of CenturyLink at
   the time the Merger Agreement was signed, and had served on the Board since 2005. McCray
   signed the false and misleading Registration Statement.

           18.      Defendant Harvey P. Perry (“Perry”) is a director of the Company and was a
   director at the time of the Merger. Perry has been a director since 1990. Since May 31, 2017, he



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   has served as non-executive Chairman of the Board of Directors of CenturyLink. He retired from
   CenturyLink in 2003. Mr. Perry joined CenturyLink in 1984, serving as Secretary and General
   Counsel at CenturyLink for approximately twenty years and as Executive Vice President and
   Chief Administrative Officer for almost five years. Prior to joining CenturyLink, Mr. Perry
   worked as an attorney in private practice for 15 years. Mr. Perry is a member of the Risk
   Evaluation Committee. Defendant Perry signed the false and misleading Registration Statement.

           19.      Defendant Michael J. Roberts (“Roberts”) is a director of the Company and was a
   director at the time of the Merger. Perry has been a director since April 1, 2011. Mr. Roberts is a
   member of the Human Resources and Compensation Committee and the Nominating and
   Corporate Governance Committee. Defendant Roberts signed the false and misleading
   Registration Statement.

           20.      Defendant Laurie A. Siegel (“Siegel”) is a director of the Company and was a
   director at the time of the Merger. Perry has been a director since July 1, 2009. Ms. Siegel is the
   Chair of CenturyLink’s Human Resources and Compensation Committee. Siegel signed the
   false and misleading Registration Statement.


           21.    Defendant Sunit S. Patel is the CEO of CenteryLink and, prior to the Merger, was
   the CFO of Level 3. Patel is a resident of Boulder County, Colorado. Patel helped draft and
   prepare portions of the Registration Statement and Prospectus and solicited Level 3 shareholders
   to vote in favor of the Merger and purchase the CenturyLink stock that was registered pursuant
   to the Registration Statement and Prospectus. Defendant Patel certified financial statements that
   were included in the Registration Statement and Prospectus, and was listed in the Prospectus as
   the person who would become CFO of CenturyLink after the Merger.

          22.     The defendants referenced above in ¶¶ 6-21 are collectively referred to as the
   “Individual Defendants.” The Individual Defendants (except for Clontz and Patel) signed the
   Registration Statement. Furthermore, as directors and/or executive officers, the Individual
   Defendants participated in the solicitation and sale of CenturyLink stock to shareholders of Level
   3 as consideration in the Merger for their own benefit and the benefit of CenturyLink.

            23.    The true nature and capacities of defendants sued herein as Does 1 through 25,
   inclusive, are presently not known to plaintiff, who therefore sues these defendants by such
   fictitious names. Plaintiff will seek to amend this complaint and include these Doe defendants’
   true names and capacities when they are ascertained. Each of the fictitiously named defendants
   is responsible in some manner for the conduct alleged herein and for the injuries suffered by
   plaintiff and the Class (as defined below).




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                             IV.     CLASS ACTION ALLEGATIONS

           24.    Plaintiff brings this action as a class action pursuant to Colorado Rule of Civil
   Procedure 23 on behalf of a class consisting of all persons or entities who acquired CenturyLink
   stock pursuant or traceable to the Company’s Registration Statement and Prospectus
   (Registration No. 333-215121) issued in connection with the Merger and who were damaged
   thereby (the “Class”). Excluded from the Class are defendants and their families, the officers,
   directors and affiliates of the defendants, at all relevant times, members of their immediate
   families and their legal representatives, heirs, successors or assigns and any entity in which
   defendants have or had a controlling interest.

           25.    The members of the Class are so numerous that joinder of all members is
   impracticable. CenturyLink stock is actively traded on the New York Stock Exchange under the
   ticker symbol “CTL” and millions of shares were sold in the Merger. While the exact number of
   Class members is unknown to plaintiff at this time and can only be ascertained through
   appropriate discovery, plaintiff believes that there are thousands of members in the proposed
   Class. Record owners and other members of the Class may be identified from records
   maintained by CenturyLink or its transfer agent and may be notified of the pendency of this
   action by mail, using the form of notice similar to that customarily used in securities class
   actions.

           26.    Plaintiff’s claims are typical of the claims of the members of the Class, as all
   members of the Class are similarly affected by defendants’ wrongful conduct in violation of
   federal law that is complained of herein.

          27.     Plaintiff will fairly and adequately protect the interests of the members of the
   Class and has retained counsel competent and experienced in class and securities litigation.

          28.     Common questions of law and fact exist as to all members of the Class and
   predominate over any questions solely affecting individual members of the Class. Among the
   questions of law and fact common to the Class are:

                  a. whether defendants violated federal securities laws, including but not limited
                     to the 1933 Act;
                  b. whether statements made by defendants to the investing public in the Offering
                     Documents contained materially false and misleading statements, or
                     misrepresented or omitted material facts about the Merger; and
                  c. the proper measure of damages.

          29.     A class action is superior to all other available methods for the fair and efficient
   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as
   the damages suffered by individual Class members may be relatively small, the expense and
   burden of individual litigation make it impracticable for members of the Class to individually



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   redress the wrongs done to them. There will be no difficulty in the management of this action as
   a class action.

                              V.     SUBSTANTIVE ALLEGATIONS

            30.    CenturyLink is an integrated communications company engaged primarily in
   providing an array of communications services, including local and long-distance voice,
   broadband, Multi-Protocol Label Switching, private line (including special access), Ethernet,
   hosting (including cloud hosting and managed hosting), data integration, video, network, public
   access, Voice over Internet Protocol, information technology and other ancillary services.
   CenturyLink strives to maintain its customer relationships by, among other things, bundling its
   service offerings to provide a complete offering of integrated communications services. Based on
   approximately 11.2 million total access lines at September 30, 2016, CenturyLink is the third
   largest wireline telecommunications company in the United States. CenturyLink operates 74% of
   its total access lines in portions of Colorado, Arizona, Washington, Minnesota, Florida, North
   Carolina, Oregon, Iowa, Utah, New Mexico, Missouri, and Nevada. CenturyLink also provides
   local service in portions of Idaho, Ohio, Wisconsin, Virginia, Texas, Nebraska, Pennsylvania,
   Montana, Alabama, Indiana, Arkansas, Wyoming, Tennessee, New Jersey, South Dakota, North
   Dakota, Kansas, Louisiana, South Carolina, Michigan, Illinois, Georgia, Mississippi, Oklahoma,
   and California. In the portion of these 37 states where CenturyLink has access lines, CenturyLink
   is the incumbent local telephone company. At September 30, 2016, CenturyLink served
   approximately 6.0 million broadband subscribers and approximately 318,000 Prism TV
   subscribers. CenturyLink’s methodology for counting access lines, broadband subscribers and
   Prism TV subscribers may not be comparable to those of other companies. CenturyLink
   conducts substantial operations in Colorado, including in this County.


           31.     On October 31, 2016, CenturyLink and Level 3 announced that they had signed
   an Agreement and Plan of Merger (the “Merger”), pursuant to which CenturyLink would acquire
   Level 3 in a transaction valued at $34 billion. Pursuant to the Merger Agreement, each
   outstanding share of Level 3 common stock, other than shares held by CenturyLink, Level 3 or
   their respective subsidiaries, would be converted into the right to receive $26.50 in cash, without
   interest, and a fixed ratio of 1.4286 shares of CenturyLink common stock, with cash paid in lieu
   of fractional shares.

          32.     On October 31, 2016, CenturyLink issued a press release announcing the Merger.

           33.     The press release described the transaction as providing the combined company
   with “the ability to offer CenturyLink's larger enterprise customer base the benefits of Level 3's
   global footprint with a combined presence in more than 60 countries.”

          34.     The release also touted the following benefits of the Merger:




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          ● Enhanced Competitive Offerings in Business Network Services: The combined
          company will have significantly improved network capabilities, creating a world-class
          enterprise player with approximately $19 billion in pro forma business revenue and $13
          billion in business strategic revenue, for the trailing twelve months ended June 30, 2016.
          Together, CenturyLink's and Level 3's revenue will be 76 percent derived from business
          customers, and 65 percent of the combined company's core revenue will be from strategic
          services. Given the complementary nature of the portfolios, the combined company will
          offer an even broader range of services and solutions to meet customers' demand for
          more bandwidth and new applications in an increasingly complex operating environment.

          ● Strong Financial Profile: The combined company is expected to have improved
          adjusted EBITDA margins, revenue growth and pro forma net leverage of less than 3.7x
          at close, including run-rate synergies. The combined company will benefit from Level 3's
          nearly $10 billion of net operating losses ("NOLs"). These NOLs will substantially
          reduce the combined company's net cash tax expense over the next several years,
          positioning it to generate substantial free cash flow.

          ● Significantly Accretive to Free Cash Flow with Multiple Opportunities for
          Growth: CenturyLink expects the transaction to be accretive to free cash flow in the first
          full year following the close of the transaction and significantly accretive on an annual
          run-rate basis thereafter. Furthermore, the transaction will be accretive to CenturyLink's
          existing growth profile with additional upside opportunities, including the ability to
          deploy CenturyLink's and Level 3's product portfolio across the combined customer
          bases. With increased network scale, and dense local metro areas and global reach, the
          combined company will be positioned to further expand internationally.

          ● Substantial Run-Rate Synergies: Both companies have a proven ability to integrate
          and meet or exceed synergy targets. The increased scale afforded by the combined
          company is expected to generate $975 million of annual run-rate cash synergies,
          primarily from the elimination of duplicative functions, systems consolidation, and
          increased operational and capital efficiencies.

          35.    The press release noted that the combined company “will maintain a significant
   presence in Colorado and the Denver metropolitan area.”

          36.    Defendant Post, CenturyLink’s CEO, was quoted in the release as stating that
   “CenturyLink shareholders will benefit from the significant synergies and financial flexibility
   provided by the combined company's revenue growth and strong cash flow.” Defendant Storey
   was quoted as saying: "This is a compelling transaction for our customers, shareholders and
   employees. In addition to the substantial value delivered to shareholders, the combined
   company will be uniquely positioned to meet the evolving and global needs of enterprise
   customers."

          37.    Maintaining “strong cash flow” at CenturyLink was critical to shareholders



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   because CenturyLink has a very large dividend (currently yielding over 11%, much higher than
   most companies), and a significant number of its shareholders are attracted to the Company’s
   stock due to the high dividend. The high dividend yield was also noted as a benefit to Level 3
   shareholders who were asked to vote to approve the Merger. Thus, any events, risks, or
   uncertainties concerning CenturyLink’s ability to maintain its high dividend were of particular
   importance to the stock market and shareholders.

           38.      The most important factor necessary to support CenturyLink’s continuing
   dividend is the Company’s free cash flow figure. For that reason, both analysts and the
   Company’s CEO, Defendant Post, frequently focused on the Company’s free cash flows and any
   factors that affect the free cash flows, which include not only revenues from operations but also,
   on the negative side, capital expenditures.

          39.     The Merger was conditioned on the approval of both companies’ shareholders and
   various other conditions. The special meeting of Level 3 stockholders to approve the Merger
   was held at Level 3’s headquarters, located at 1025 Eldorado Boulevard, Broomfield, Colorado
   80021, on March 16, 2017.

          40.      The Prospectus stated that “[u]pon completion of the combination, R. Stewart
   Ewing, Jr., CenturyLink’s current Executive Vice President, Chief Financial Officer and
   Assistant Secretary, plans to retire. Following Mr. Ewing’s retirement, Mr. Sunit Patel,
   Executive Vice President and Chief Financial Officer of Level 3, will serve as Chief Financial
   Officer of the combined company.”

          41.    The Prospectus also stated that “CenturyLink expects Jeff K. Storey, Level 3’s
   president and chief executive officer and Steven T. Clontz, senior executive vice president of
   Singapore Technologies Telemedia Pte. Ltd., to join the CenturyLink Board upon completion of
   the combination, with Mr. Clontz serving as the designee of STT Crossing.”

           42.    The Merger was eventually approved and CenturyLink delivered, on or about
   November 1, 2017, an aggregate of approximately $9.6 billion in cash to Level 3’s stockholders
   and, as well, approximately 517.3 million shares of CenturyLink Common Stock valued at
   approximately $9.8 billion. As noted by the Prospectus, “The exchange ratio is fixed and will
   not be adjusted to reflect stock price changes prior to closing of the combination.”

           43.     But before the Merger closed, and in order to solicit approval for the Merger and
   to register the 517.3 million new CenturyLink shares to be issued to Level 3 stockholders in the
   Merger, CenturyLink and Level 3 filed a Joint Proxy Statement and S-4 Registration Statement
   with the U.S. Securities and Exchange Commission on December 15, 2016. After filing
   amendments to the Registration Statement on January 17, 2017, January 27, 2017, and February
   9, 2017, the Registration Statement was declared effective on February 13, 2017. On February
   13, 2017, CenturyLink filed a prospectus for the stock to be issued in the Merger on Form
   424B3, which incorporated and formed a part of the Registration Statement (the “Prospectus”).
   The Registration Statement and Prospectus are collectively referred to herein as the Offering



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   Documents.

          44.    Because the exchange ratio was fixed, Level 3 shareholders paid $28.00 per share
   for each CenturyLink share they acquired in the Merger. CenturyLink explained the details of
   the Merger consideration in the following slide that was used when the Company announced the
   Merger:

                 CenturyLink to acquire Level 3 for $66.50 per share

                        • 60% stock consideration at $40.00 per share
                        • Fixed exchange ratio of 1.4286x based on CenturyLink $28.00 per
                        share reference price
                        • 40% cash consideration at $26.50 per share

           45.    The Offering Documents were negligently prepared and, as a result, contained
   untrue statements of material fact, omitted material facts necessary to make the statements
   contained therein not misleading, and failed to make adequate disclosures required under the
   rules and regulations governing the preparation of such documents.

          46.    The Offering Documents were false and misleading because they contained
   material omissions. Among other things, the Offering Documents failed to disclose the
   following material, adverse facts, events, and trends:

                 ● CenturyLink’s strategic revenues, including high-bandwith revenues for
                 enterprise customers, had been coming in slower than expected, and were not
                 sufficient to support the aggressive guidance the Company had provided for
                 growth in strategic revenues in 2017

                 ● CenturyLink was losing customers at a faster rate than disclosed for those
                 customers using the Company’s service at speeds of 20 MBs or below, as such
                 customers were switching to other carriers who offered higher speeds

                 ● Contrary to the Company’s public statements, the churn rate for CenturyLink’s
                 consumer customers had increased, not stabilized

                 ● CenturyLink was charging customers for lines and services they did not
                 request or authorize

                 ● Due to increased churn in its consumer customers, and complaints by such
                 customers concerning various issues, including hidden fees, CenturyLink had
                 moved in February 2017 to an allegedly more simplified pricing plan which
                 would have negative effects on revenue and profits in 2017




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                  ● CenturyLink’s CPE revenue1 was declining

                  ●Significant uncertainty was being caused by the elongated merger process,
                  resulting in disruption in the sales force and lower revenues.

                  ● After announcement of the Merger, customers were deferring purchases from
                  both Level 3 and CenturyLink because they did not want to make purchases
                  without knowing which network they were going to be on

                  ● CenturyLink was incurring higher CapEx expenditures than forecast, which
                  would negatively impact free cash flow, revenues and profits in 2017 and 2018.
                  The Offering Documents failed to disclose that CenturyLink had already decided
                  it would need to accelerate capital expenditures due to increased competition from
                  cable companies, which were aggressively pursuing consumers by offering much
                  faster service (e.g., 1 Gigabyte) at very attractive prices, resulting in consumers
                  switching from CenturyLink to the cable company competitors, and that in order
                  to address this faster service from cable providers, CenturyLink needed to
                  accelerate capital spending to increase the speeds of its networks, many of which
                  continued to offer service of speeds as slow as 40 Mbs or slower.

           47.    Defendants were required to disclose this material information in the Registration
   Statement for at least two independent reasons. First, SEC Regulation S-K, 17 C.F.R. §229.303
   ("Item 303"), required disclosure of any known events or uncertainties that at the time of the
   Merger had caused or were reasonably likely to materially impact CenturyLink's future operating
   results and prospects. The undisclosed facts alleged herein were likely to (and in fact did)
   materially and adversely affect CenturyLink's results and prospects and rendered the foregoing
   representations in the Registration Statement misleading and not indicative of CenturyLink's
   future operating results and prospects.

          48.     Second, SEC Regulation S K, 17 C.F.R. §229.503 ("Item 503"), required, in the
   "Risk Factor" section of the Registration Statement, a discussion of the most significant factors
   that made the offering risky or speculative and that each risk factor adequately describe the risk.

           49.      The Registration Statement's discussion of risk factors did not even mention,
   much less adequately describe, the risk posed by undisclosed facts alleged herein. For example,
   the Registration Statement and Prospectus did not disclose the then already realized (and
   worsening day-by-day) deferral of orders by customers who did not want to make the purchases
   in light of the uncertainly of which network they would be on, as well as the employee attrition

   1 CPE is an acronym for “customer-premises equipment.” CPD devices are telecommunications
   hardware located at the home or business of a customer. Such equipment might include cable or
   satellite television set-top boxes, digital subscriber lines (DSL) or other broadband Internet
   routers, VoIP base stations, telephone handsets or other customized hardware used by the
   telecommunications service provider.



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   in CenturyLink’s sales force which had resulted in loss of sales and revenues and which was
   expected to result in further reduced revenues in 2017 and the likely and consequent materially
   adverse effects on the Company's future results, share price, and prospects.

          50.      The Offering Documents also did not disclose the barrage of complaints from its
   customers and own employees indicating that CenturyLink was charging customers for lines and
   services they did not request or authorize and charging customers hidden fees, thus indicating
   that a material amount of CenturyLink’s reported revenues and earnings had been realized by
   improper conduct, and thus that CenturyLink’s revenues would decrease when customers
   switched to a different carrier or forced CenturyLink to cancel services that had not been
   authorized.

          51.     Moreover, the risk factors that the Offering Documents did discuss were false and
   misleading because they were generic and vague, and only warned that future events might
   occur, despite the fact that the same type of risks had already occurred. For example, the
   Prospectus stated:

          The pendency of the combination could adversely affect the business and operations of
          CenturyLink and Level 3.

          In connection with the pending combination, some customers or vendors of each of
          CenturyLink and Level 3 may delay or defer decisions or reduce their level of business
          with either or both of the companies, any of which could negatively affect the revenues,
          earnings, cash flows and expenses of CenturyLink and Level 3, regardless of whether the
          combination is completed. Similarly, current and prospective employees of CenturyLink
          and Level 3 may experience uncertainty about their future roles with the combined
          company following the combination, which may materially adversely affect the ability of
          each of CenturyLink and Level 3 to attract and retain key management, sales, marketing,
          operational and technical personnel during the pendency of the combination.

           52.    This statement was false and misleading because, at the time the Prospectus was
   declared effective on Feb. 13, 2017 (four and a half months after the Merger was announced), the
   uncertainty caused by the announcement of the Merger, as well as the elongated time period
   which had been scheduled for the Merger to close, had already caused a significant amount of
   customers to defer purchases from CenturyLink and Level 3, thus reducing revenues and
   profits. The announcement had also already caused significant disruption in the sales force of
   both CenturyLink and Level 3.

          53.     The Prospectus’ boilerplate risk disclosure about potential competition and the
   potential to need to invest greater resources in order to address such hypothetical increased
   competition was also false and misleading. That disclosure merely stated:

          Competition could adversely affect CenturyLink following the combination in several
          ways, including (i) the loss of customers and market share, (ii) the possibility of



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          customers terminating or reducing their usage of the combined company’s services or
          shifting to less profitable services, (iii) reduced traffic on the combined company’s
          networks, (iv) the combined company’s need to expend substantial time or money on new
          capital improvement projects, (v) the combined company’s need to lower prices or
          increase marketing expenses to remain competitive, and (vi) the combined company’s
          inability to diversify by successfully offering new products or services.

         54.     Another risk disclosure, labeled “CenturyLink Could Be Harmed by Rapid
   Changes in Technology,” stated:

          To enhance the competitiveness of certain of CenturyLink’s services, CenturyLink may
          be required to expend additional capital to augment the capabilities of its copper-based
          services or to install more fiber optic cable.

           55.    These boilerplate risk disclosures were false and misleading because, at the time
   the Prospectus was filed, CenturyLink was already facing significantly increased competition
   from cable providers and had already decided it would need to increase its capital spending it
   the first half of 2017 beyond forecasted amounts, well before the merger closed, in order to
   address this increased competition from cable providers, which were aggressively pursuing
   consumers by offering much faster service (e.g., 1 Gigabyte) at very attractive prices, resulting in
   consumers switching from CenturyLink to the cable company competitors, and that in order to
   address this faster service from cable providers, CenturyLink needed to accelerate capital
   spending to increase the speeds of its networks, many of which continued to offer service of
   speeds as slow as 40 Mbs or slower.

           56.    CenturyLink’s undisclosed decision to increase capital expenditures was directly
   relevant and highly material to Level 3 shareholders because capital expenditures decrease free
   cash flow, a key measure of a company’s profitability. Indeed, CenturyLink itself defined free
   cash flow as “Cash flow from operations minus capital expenditures.”

           57.     CenturyLink had an unusually long timeline to close the Merger, with the
   Company projecting that the Merger would be consummated in the third quarter of 2017, nearly
   a year after it was first announced. The Company and its representatives reassured shareholders
   that the time was being used to ensure a successful integration and transition into the combined
   company, and that integration efforts were being successfully accomplished. In reality, however,
   the uncertainty caused by the Merger was causing customers to defer orders, and this material
   facts was omitted from the Offering Documents.

        58.     In addition to omitting to disclose a number of material facts, the Offering
   Documents also contained affirmative misrepresentations.

          59.    For example, the Offering Documents contained the following financial forecasts
   for CenturyLink, which had been provided to Level 3 in connection with the due diligence
   review of CenturyLink conducted by Level 3, and to Level 3’s financial advisors, in connection



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   with their evaluation of the fairness of the merger consideration:

                                             2017(E)       2018(E)   2019(E)       2020(E)    2021(E)
                                                                   (In millions)
   Revenue                                   $ 17,612      $ 17,913 $ 18,494       $ 19,227   $ 20,078
   EBITDA(1)                                 $ 6,500       $ 6,450 $ 6,550         $ 6,700    $ 6,900
   Capital Expenditures                      $ 3,100       $ 2,900 $ 2,900         $ 2,600    $ 2,600


           60.      These financial forecasts were false and misleading due to Defendants’ failure to
   disclose the other material information alleged herein, the non-disclosure of which rendered the
   financial results and forecasts contained in the Offering Documents misleading. When
   CenturyLink later disclosed its stand-alone financial results for 2017, the results were much
   worse. The following tables provide CenturyLink 2017 results on a standalone unaudited basis
   and exclude special items (including integration-related expenses), intercompany eliminations
   and acquisition accounting adjustments associated with the acquisition of Level 3 effective Nov.
   1, 2017 (i.e., the results would have been far worse had these costs been included).


                                   Fourth          Fourth
                                   Quarter         Quarter  Full Year  Full Year
   ($ in millions)                   2017            2016     2017       2016
   Strategic Revenue3, 4         $ 1,905          2,028     7,725      8,098
   Legacy Revenue3, 4               1,633         1,834     6,868      7,624
     Core Revenue3                  3,538         3,862    14,593     15,722
   Data Integration Revenue           113           131       498        533
   Other Revenue                      313           296     1,206      1,215
     Total Operating Revenue     $ 3,964          4,289    16,297     17,470
   Adjusted EBITDA2                 1,471         1,585     5,842      6,513
   Adjusted EBITDA2 Margin           37.1 %        37.0 %    35.8 %     37.3 %
                                                                       2,958
   Capital Expenditures 5              528          963     2,886


           61.    The Offering Documents also contained false and misleading statements
   regarding CenturyLink’s expected future performance. On February 9, 2017, CenturyLink filed
   a Form 425 with the SEC. Form 425s are supplements to prospectuses, and thus form part of the
   Prospectus. CenturyLink filed the Form 425 to provide Level 3 shareholders with additional
   information relevant to the Offering Documents for the Merger. In the Form 425, CenturyLink
   attached a copy of the transcript from the conference call the day before (February 8, 2017) to
   discuss CenturyLink’s Q4 2016 and full year 2016 financial results. In the transcript, Defendant
   Post said:




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          “I am not satisfied with the 2016 results and we are laser focused on improving our
          trends going forward. Stewart will discuss with the details a little later, but there are a
          few things I would highlight about our 2016 results. For the year, total revenues were
          below expectations due to a slower growth in our strategic revenues than we anticipated
          coming into 2016. This underperformance was primarily due to a slowdown in the rate of
          — growth in business, high-bandwidth data services reflecting lower-than-expected new
          sales MPLS and Ethernet services compared with our original expectations.”

          62.    Defendant Post also said the following on the call:

          Moving to the second initiative. We believe the greatest potential for us to drive returns
          on our capital investment lies in enabling and delivering broadband services. Obviously,
          the biggest thing we did in 2016 on this front was the Level 3 acquisition.

           63.     Due to significant costs associated with the Level 3 acquisition, CenturyLink was
   forced to reduce its forecasted CapEx (capital expenditures) for 2017. Analysts were concerned
   about this, because capital expenditures drive future revenues, and analysts were concerned that
   CenturyLink’s reduced CapEx forecast would result in lower revenues. Defendant Post firmly
   refuted this concern:

          Also in the capital side, you will notice that we have reduced our expected 2017 capital
          spend to $2.6 billion. I want to say a word about that. First, I want to point out that we
          don’t believe this reduction will materially affect our revenue trajectory in 2017 or
          2018.

          64.    With respect to ongoing efforts to integrate Level 3, Post stated:

                 In regards to the acquisition of Level 3, we’re making progress in the approval
                 integration process and we have completed all state and federal filings, and we
                 expect to complete the necessary international filings within the next few weeks.
                 Additionally, we have formed the Integration Managed Office to coordinate and
                 drive the integration planning process on these integration implementation
                 once closing occurs. We believe this combination will create significant benefits
                 and growth opportunities for all our stakeholders, including our customers, our
                 employees and our shareholders.

                 First, this transaction will enable us to build a scale — to build scale and deliver
                 agile network-based products and services to customers. We really will be
                 creating a new chapter with this combined company. We also believe this
                 combination with Level 3 will significantly improve CenturyLink’s growth
                 profile, better position to combine company to improve its revenue trend and
                 growth.

                 We expect it to drive meaningful operational — operating cash flow growth in the



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                 first full year postclosing, including synergies as realized and including
                 integration cost. We expect to drive more than 10% growth in free cash flow per
                 share in the first full year postclosing, including synergies as realized and, again,
                 including integration costs. And we expect to drive significant improvement in
                 free cash flow per share in subsequent years. Now the transaction ultimately will
                 accelerate recognition of Level 3 net operating losses, which will reduce
                 combined company’s net cash tax expense, positioning us to create enhanced free
                 cash flow and significantly lowering CenturyLink’s dividend payout ratio. We
                 expect to be able to utilize the combined company’s strong product portfolios to
                 bring to the market even more compelling solutions to the combined companies
                 customer base. We continue to expect to receive all the necessary approvals on a
                 timely manner and close the acquisition, we believe, by the end of September
                 2017.

           65.    Moreover, on the February 8, 2017 conference call with analysts (the transcript of
   which was filed with the SEC on Form 425 as a supplement to the Prospectus), despite
   CenturyLink’s disappointing 2016 results, Defendant Ewing provided the following aggressive
   financial forecasts for 2017, even though CenturyLink did not typically provide its forecasts to
   analysts:

          For full year 2017, we expect operating revenues of $17.05 billion to $17.3 billion; core
          revenues of $15.25 billion to $15.5 billion; and operating cash flow between $6.15 billion
          to $6.35 billion. Adjusted diluted EPS is expected to range from $2.10 to $2.30 per share.
          We expect free cash flow of $1.55 billion to $1.75 billion, including capital expenditures
          of approximately $2.6 billion. We anticipate lower operating revenues and core revenues
          in full year 2017 compared to 2016 due to the expected legacy revenue declines more
          than offsetting anticipated increases and strategic revenue growth.

           66.     Analysts were surprised by CenturyLink’s aggressive 2017 forecasts, which
   indicated that CenturyLink would be able to effectuate a complete “U-turn” in its downward-
   trending results, as indicated by the following question from an analyst during the call:

                 David William Barden

                 BofA Merrill Lynch, Research Division

                 A couple, if I could. The first one would be on the guidance. Stewart, if I multiply
                 the midpoint of your revenue and your EBITDA guidance by 4, you get below the
                 low end of the full year guidance for revenue and operating cash flow, which
                 would imply that you’re guiding to revenues U-turning and EBITDA U-turning in
                 the following quarters, which would be a pretty big milestone for CenturyLink
                 looking at the kind of historical trending data. So if you could kind of elaborate a
                 little bit on that, that would be super helpful. And then the second question would
                 be on the CapEx. I think you said that there was some element of the pending



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                 Level 3 merger that was in the lower CapEx number. Obviously, there’s some
                 CapEx synergies that are baked into the hypothetical merger model. I’m
                 wondering are we pulling those forward into the current guidance? Or is the
                 money you’re not spending now in addition to the money that you might
                 incrementally not spend with the Level 3 deal? And then my last one, if I could,
                 just real quick, is when you’re kind of thinking when the Level 3 vote will get
                 scheduled?

          67.    In response to this question, Defendant Ewing stated:

                 R. Stewart Ewing

                 Chief Financial Officer, Executive Vice President and Assistant Secretary

                 Q: David, on the guidance, you’re correct. We believe that basically, we will be
                 able to improve throughout the year in terms of the revenue from the standpoint,
                 especially in the latter half of the year. The consumer business, basically, we’re
                 working very diligently on penetrating the customers that we’ve built to from the
                 standpoint of increasing the seats available to them. We’re working on reducing
                 our churn rate, so we have mitigation programs in place that, based on the
                 trends we’ve seen over the last couple of quarters, we think we’re going to be
                 able to show an improvement from a customer standpoint. Dean, you want to
                 talk about enterprise for just a minute?

                 Dean J. Douglas
                 President of Sales and Marketing

                 A: Sure. I mean, enterprise side, we believe that we’ll continue to see a nice
                 ramp up of our revenues associated with the Enterprise business for 3 reasons.
                 First reason is that when we look at our backlog, our book backlog, we see an
                 improvement, 40% improvement in our book business going forward from the
                 first part of 2016 through the first part of 2017. The second piece is that we are
                 replacing our Ethernet products. We had 4 Ethernet products in the marketplace
                 that are now being replaced by a single Ethernet product. It’s available in all 35 of
                 our markets. It’s MEF 2.0 compliant, so it’s a current product, consistent with
                 what we’re seeing in the marketplace with our competitors. And the third piece is
                 that we continue to enjoy a nice performance improvement in our MPLS
                 business combined with our SD-WAN business, which is going through a
                 number of talks with our customers, and we believe that those talks will become
                 real revenue-generating business opportunities in the second half of 2017.

           68.     During the Feb. 8, 2017 conference call, analysts also wanted to know the status
   of the churn rate of CenturyLink’s customers. In 2016, CenturyLink had experienced a
   significant level of customer churn. In response to this question, CenturyLink represented that



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   churn had decreased:

                 Simon William Flannery
                 Morgan Stanley, Research Division

                 Q: So customer behavior is pretty stable, industry growth is stable?

                 Dean J. Douglas
                 President of Sales and Marketing

                 A: Yes. We’ve got the challenges that most of our competitors have in terms of
                 pricing and the like. But we are seeing a churn level that’s actually reduced
                 year-on-year. And so we think that not only is the customer acceptance solid, but
                 we’re seeing that manifest itself in new product acquisition as well as in our churn
                 numbers.

          69.    The Offering Documents also attached the Merger Agreement as Exhibit A to the
   Registration Statement. The Merger Agreement contained “Representations and Warranties”
   made by CenturyLink, which included the following affirmative representations:

          Parent [CenturyLink] and its Subsidiaries have filed each report and definitive proxy
          statement (together with all amendments thereof and supplements thereto) required to be
          filed by Parent or any of its Subsidiaries pursuant to the Exchange Act with the SEC
          since January 1, 2014 (as such documents have since the time of their filing been
          amended or supplemented, the “Parent SEC Reports”). As of their respective dates, after
          giving effect to any amendments or supplements thereto filed prior to the date hereof, the
          Parent SEC Reports (i) complied as to form in all material respects with the
          requirements of the Exchange Act, and (ii) did not contain any untrue statement of a
          material fact or omit to state a material fact required to be stated therein or necessary
          in order to make the statements therein, in light of the circumstances under which they
          were made, not misleading.

          70.     The Merger Agreement attached as Exhibit A to the Registration Statement also
   contained the following representation:

                 Section 4.14. Compliance with Law.

          Since January 1, 2014, the operations of the business of Parent and its Subsidiaries have
          been conducted in accordance with all applicable laws, regulations, orders and other
          requirements of all Governmental Entities having jurisdiction over such entity and its
          assets, properties and operations, except for any of the foregoing that would not,
          individually or in the aggregate, have a Parent Material Adverse Effect. Since January 1,
          2014, none of Parent or its Subsidiaries has received notice of any violation (or any
          investigation with respect thereto) of any such law, regulation, order or other legal



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          requirement, and none of Parent or its Subsidiaries is in default with respect to any order,
          writ, judgment, award, injunction or decree of any national, federal, state or local court or
          governmental or regulatory authority or arbitrator, domestic or foreign, applicable to any
          of its assets, properties or operations, except for any of the foregoing that would not,
          individually or in the aggregate, have a Parent Material Adverse Effect.

          Parent and each of its officers are in compliance in all material respects with (i) the
          applicable provisions of the Sarbanes-Oxley Act and (ii) the applicable listing and
          corporate governance rules and regulations of the NYSE. Except as permitted by the
          Exchange Act, including, without limitation, Sections 13(k)(2) and (3), since the
          enactment of the Sarbanes-Oxley Act, neither Parent nor any of its Affiliates has made,
          arranged or modified (in any material way) personal loans to any executive officer or
          director of Parent.

          The management of Parent has (i) implemented (x) disclosure controls and procedures to
          ensure that material information relating to Parent, including its consolidated
          Subsidiaries, is made known to the management of Parent by others within those entities
          and (y) a system of internal control over financial reporting sufficient to provide
          reasonable assurances regarding the reliability of financial reporting and the preparation
          of financial statements for external purposes in accordance with GAAP, and (ii)
          disclosed, based on its most recent evaluation prior to the date hereof, to Parent’s auditors
          and the audit committee of Parent’s Board of Directors (A) any significant deficiencies in
          the design or operation of internal controls which could adversely affect Parent’s ability
          to record, process, summarize and report financial data and has identified for Parent’s
          auditors any material weaknesses in internal controls and (B) any fraud, whether or not
          material, that involves management or other employees who have a significant role in
          Parent’s internal controls.

          71.    These representations and warranties in the Offering Documents were false and
   misleading because, at the time the Registration Statement was filed, CenturyLink had already
   been advised by a whistleblower that CenturyLink was violating multiple laws by
   systematically adding additional lines and services not requested or authorized by its
   customers and/or charging excessive or unwarranted fees to its customers. According to a
   whistleblower lawsuit filed by former employee Heidi Heiser on June 14, 2017, Heiser had
   advised multiple CenturyLink supervisors of this unlawful conduct well before the Registration
   Statement was filed, including supervisors Christine Wells, Denise Medina, and Michael Del
   Campo.

           72.     In October of 2016, Heiser alleges CenturyLink held an online question and
   answer session that allowed Company employees including Ms. Heiser to post questions to an
   online message board for review by the Company’s CEO, Defendant Post. Based on her first-
   hand observations working for CenturyLink since August of 2015 as a customer service and
   sales agent, and out of concern that thousands if not millions of Century Link customers were
   being improperly charged for services they did not order, during the question and answer session



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   Ms. Heiser posted a question on-line during the October 2016 session asking the CenturyLink
   CEO why customers were being given multiple accounts and being billed for things they did not
   ask for.


           73.    Thus, Ms. Heiser made the highest levels of management at CenturyLink aware
   of her concerns. In response to Heiser’s whistleblowing activity, however, Ms. Heiser alleged
   she was suspended or fired two days after the October 2016 question and answer session, and
   that her complaint was also taken down from the online forum.


          74.     Ms. Heiser also alleged that numerous prior complaints to her supervisors were
   ignored and/or met with a response that she should just stay quiet.


           75.      These detailed allegations form a credible basis to infer serious and systematic
   violations of the law by CenturyLink and a lack of adequate internal controls at the Company,
   contrary to the representations and warranties in the Offering Documents.

           76.    Based on the false and misleading statements in the Offering Documents, and
   CenturyLink’s reassurances during the Feb. 8, 2017 conference call with analysts in which it
   portrayed 2016’s disappointing financial results as an aberration which would experience a “U-
   turn” in 2017, buttressed by aggressive 2017 financial forecasts provided to analysts during the
   conference call, Level 3 shareholders voted to approve the Merger at the March 2017 special
   meeting in Colorado.

                      CENTURYLINK’S STOCK DECLINES IN RESPONSE TO
                              REVELATION OF THE TRUTH

          77.   However, soon after the Merger was approved, the falsity of the statements in the
   Offering Documents began to be incrementally disclosed.

          78.      First, on June 14, 2017, one of CenturyLink’s former employees filed a
   whistleblower lawsuit alleging widespread misconduct at Level 3 going back to 2015-2016,
   including charging customers for lines and services they did not order or approve.

          79.     Upon the disclosure of this news in a story published by Bloomberg,
   CenturyLink’s stock declined from $27.31 on June 14, 2017 to $25.72, on June 16, 2017, on
   extraordinarily high volume of over 43 million shares traded on June 16, 2017. See Rachel Cao,
   “CenturyLink shares drop 7% after reports of an alleged billing scam,” CNBC Market Insider,
   June 16, 2017.

            80.    In the weeks after the whistleblower lawsuit was filed, class-action lawsuits were
   filed in several western states, including California, Colorado, Oregon and Idaho, contending that



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   CenturyLink improperly billed customers and then sent those customers to collection agencies.
   In response to these lawsuits, CenturyLink stock declined to $23.25 by July 11, 2017.

            81.    On July 12, 2017, the Minnesota Attorney General sued CenturyLink for
   consumer law violations and deceptive trade practices, alleging that CenturyLink frequently
   billed customers at higher rates than its sales agents quoted. Flanked by Minnesotans who have
   filed some of the “hundreds” of complaints about charges they say they didn’t agree to, Swanson
   announced the lawsuit in a press conference, indicating the lawsuit asks a judge to impose civil
   penalties, order the company to change its sales practices and require that CenturyLink pay
   restitution to customers who were misled about their purchases.

          82.     In response to the July 12, 2017 disclosure of the Minnesota Attorney General
   lawsuit, CenturyLink’s stock declined from to $23.38 to $22.50 on heavy trading volume of
   14.88 million shares.

         83.    On August 2, 2017, CenturyLink reported lower than expected earnings for Q2
   2017. CenturyLink reported EPS of $0.46, missing the consensus analyst estimates of $0.49.

         84.    During the conference call with analysts on August 2, 2017 to discuss Q2 2017,
   which was held after the stock market had closed, David D. Cole, the Company’s Chief
   Accounting Officer, stated:

          “Second quarter operating revenue on a consolidated basis was approximately $4.1
          billion, a 7% decrease from second quarter 2016 operating revenues. Core revenue,
          defined as strategic revenue plus legacy revenue, was $3.66 billion for the second quarter,
          a decrease of 7.9% from they year-ago period.”

           85.    In his remarks on the conference call, Chief Accounting Officer Cole also stated
   that free cash flow had also declined, was negative, and had declined primarily due to higher
   capital expenditures:

          “Adjusted free cash flow . . . was a negative $52 million for the quarter. This adjusted
          free cash flow for the quarter was lower primarily due to higher capital expenditures,
          seasonally higher cash interest and approximately $265 million of cash tax payments in
          the quarter.”

          86.     Cole also stated that CenturyLink’s Consumer Segment also reported declining
   revenues, falling 6.2% from Q2 2016. Further, on the call, Cole stated that CenturyLink was
   lowering guidance for the remainder of the year:

          “Turning now to our full year expectations. And again, based on the first half 2017
          results, and our current expectations for the remainder of the year, we do anticipate
          coming in slightly below our full year 2017 revenue and adjusted diluted EPS
          guidance, primarily driven by higher legacy revenue declines and lower consumer



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          broadband revenue growth than anticipated. . . CenturyLink is not providing updated
          guidance ranges for full year 2017, due to the pending acquisition of Level 3 currently
          anticipated to be completed by the end of the third quarter of 2017.”

          87.     Defendant Post also disclosed on the conference call with analysts that
   CenturyLink had formed a special committee of the Board of Directors to investigate the
   whistleblower allegation that the Company was overbilling consumers and billing them for
   services they did not order, and that the Company had hired “the law firm, O’Melveny & Myers,
   to conduct [an] independent review of these issues.”

          88.    In response to a question from a Barclays analyst, Defendant Post also disclosed
   that customers had been delaying orders due to uncertainty caused by announcement of the
   Merger:

          Amir Rozwadowski, Barclays PLC

          Q: “[I]n terms of overall customer reception, I mean, as we get closer to the close of the
          transaction, how has the overall customer reception been to the anticipation of the close
          of the deal? Meaning, how should we think about potential customer churn risk? And
          what are you doing to ensure that, that doesn’t take place, things along those lines?

          Glen F. Post, CEO

          A: The only other item I mentioned there is that as we bring these companies together,
          we are seeing some delays by customers just waiting for companies to come together and
          see which – what network infrastructure we’re going to utilize, any of the changes that
          the combination these companies might offer, so we’re seeing some delays. They’re not
          really going to other – our competitors right now, but they are delaying their decision like
          we believe partially [indiscernible] wanting to see the companies come together.”

         89.     Defendant Post also admitted that CenturyLink had accelerated Capex spending in
   Q2 2017 in order to try to address increased churn in its Consumer Segment:

          Philip A. Cusick, JP Morgan Chase & Co:

          Q: Can you expand on the disappointing broadband growth last quarter? Cable was
          more aggressive. I’m wondering why you’d expect cable to be any less aggressive
          forward – going forward?

          Glen F. Post, CEO

          A: Yes, on the – on the cable competition, we don’t expect them to be any less
          [aggressive]. What did happen in the second quarter, we had several key markets they
          rolled out their gig service and came in a very aggressive pricing. What we’re doing is



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          coming back with our – what we’re seeing success is the Price for Life product, our
          pricing plan and the higher speeds we’ve been able to roll out as we accelerated CapEx
          into the first half of the year and the second quarter as we just discussed.

          90.     In response to the disappointing Q2 2017 earnings, CenturyLink’s stock declined
   from $23.74 on August 2, 2017 to $22.40 on August 3, 2017, on unusually heavy volume of
   23.96 million shares. Over the next two weeks, as the market absorbed the negative effect of the
   worse-than-expected earnings and the implications they had for CenturyLink’s results going
   forward, the Company’s stock declined much more, falling to $19.16 by August 18, 2017.

          91.     On October 12, 2017, the Company’s stock closed at $20.35. As rumors in the
   market started to circulate that CenturyLink would report disappointing Q3 2017 earnings, the
   stock began to decline.

          92.      On October 30, 2017, news reports announced that, in the ongoing lawsuit against
   CenturyLink brought by the Minnesota Attorney General, the judge presiding over the case had
   signed a court order requiring CenturyLink to disclose all terms of price at the time of the sale.
   In commenting on the order, Minnesota Attorney General Lori Swanson said: “I think people
   need to have fair and accurate prices to be able to shop around for internet and television
   services, and this order requires the company to make clear and conspicuous disclosures at the
   time of the sale of what their prices are, what their fees are, any limitations on the deal and how
   long the deal lasts.” Swanson also stated that Minnesota still seeks restitution and civil penalties
   from the lawsuit, and that the court order was just an initial court order to stop the practice while
   the lawsuit continues.

           93.   The court order, signed by Anoka County Chief Judge Douglas Meslow, prohibits
   CenturyLink from making false statements about the prices and terms of its products and from
   charging more than it quotes, whether it is selling its own services and products or DirecTVs. If
   the company does misquote a price, it is not allowed to charge a higher amount, according to the
   court order. CenturyLink is now required to clearly disclose at the time of the sale:

                •   The monthly base price.

                •   Monthly recurring fees on top of the base price.

                •   Any one-time fees.

                •   The amount of the first invoice and future invoices.

                •   The time period for which the quoted prices apply.

                •   Restrictions on a consumer’s ability to receive the quoted price.

          94.       In response to this news, CenturyLink stock declined from $18.99 on October 31,



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   2017 to $16.37 on November 3, 2017.

          95.    Then, on November 8, 2017, after the market closed, CenturyLink surprised the
   market by announcing disappointing Q3 2017 results.

           96.   In the conference call to discuss the Q3 2017 results, Defendant Post admitted that
   CenturyLink had been experiencing significant uncertainty throughout 2017, caused by the
   elongated merger process, resulting in disruption in the sales force and lower revenues as a
   result. In Q3 conference call, Post said “I’ve been obviously talking to the sales team the last
   few months just to see what’s going on out there. And one of the things that they refer to is just
   the uncertainty that’s been caused by the elongated process of bringing these 2 companies
   together. And I realize it’s somewhat of an excuse, but it’s real to these folks and they’re
   uncertain of where they’re going to be. We changed up the specialty in the global enterprise
   space, we changed up the leadership to the Level 3 leadership and it caused a lot of unrest
   within CenturyLink ranks. . . it’s been a real factor out there.”

          97.     On November 9, 2017, the first day of trading after CenturyLink disclosed its Q3
   2017 results (the results were reported November 8, 2017 after the stock market closed), the
   Company’s stock declined to $15.48 on extremely heavy volume of 39,219,510 shares traded.
   From then until November 27, 2017, as the market absorbed the surprising news, the stock
   declined to $13.62.

          98.   From the time the Registration Statement was declared effective on February 13,
   2017, to November 27, 2017, CenturyLink’s stock performed miserably, declining by over
   44%, while the Dow Jones Industrial Average gained over 16%, as reflected in the following
   chart:




          99.   After the disclosure of CenturyLink’s disappointing earnings, analysts slashed the
   Company’s price targets and the Company’s stock price approached a 20-year low. See John C.
   Ogg, “Should CenturyLink Shares Really Be at 20-Year Lows?” 24/7 WALL ST., Nov. 9, 2017,
   which noted:




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                 CenturyLink Inc. (NYSE: CTL) has had a pretty miserable day after earnings. .
                 . With Level 3 under its belt, should CenturyLink shares really be challenging
                 20-year lows? . . . CenturyLink had $0.42 in earnings per share (EPS) and $4.03
                 billion in revenue in its third quarter. The consensus estimates from Thomson
                 Reuters called for $0.45 in EPS and $4.06 billion in revenue. The third-quarter
                 report last year had EPS of $0.56 and $4.38 billion in revenue.

                 In terms of guidance, the company anticipates standalone CenturyLink full-
                 year 2017 results to be below its full-year guidance provided earlier in the year.
                 Specifically, CenturyLink is reiterating standalone Level 3 full-year 2017 outlook
                 for adjusted EBITDA of $2.94 billion to $3.00 billion and free cash flow of $1.10
                 billion to $1.16 billion. All other Level 3 outlook measures also remain
                 unchanged. The consensus estimates call for $1.94 in EPS and $16.41 billion in
                 revenue for the full year.

          100. On November 9, 2017, Jeffries also issued a negative report on CenturyLink and
   lowered its price target. It noted that the disappointing results all came from CenturyLink and
   that Level 3’s earnings had come in within forecasted levels and analyst expectations:

          CenturyLink results disappointed and the FY17 outlook lowered again, though Level 3
          results were in line. While we expect the combination should provide substantial
          synergies and a lofty tax shield, we are incrementally more cautious on the ability to meet
          the dividend obligation. Despite deal benefits, softer results and continued secular
          headwinds keep us on the sidelines; we lower our price target to $17.

          101. Other analysts also lowered their price targets for CenturyLink on November 9,
   2017 in response to CenturyLink’s worse-than-expected results, as follows:

             ● Cowen lowered its price target to $18 from $24.

             ● Deutsche Bank lowered its price target to $16 from $20.

             ● JPMorgan lowered its price target from $28 to $26.

             ● SunTrust Robinson Humphrey lowered its target to $19 from $25.

             ● UBS lowered its price target to $22 from $29.

           102. CenturyLink’s disappointing results continued.        On February 14, 2018,
   CenturyLink reported its Q4 2017 and full year 2017 financial results. CenturyLink reported
   EPS for Q4 2017 of just $0.18, significantly missing consensus analyst estimates of $0.33
   (representing a negative downward departure from estimates of 45.45%).

          103.   On the conference call with analysts to discuss the results, Defendant Patel, the



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   Company’s CFO, stated that “Total operating revenue in the fourth quarter declined 7.6% to
   $3.964 billion primarily due to a decline in legacy revenue and the Colocation sale in May of
   2017. Core revenues declined 8.4%, and strategic revenues declined 6.1% in the fourth quarter.”

           104. Defendant Patel also stated that “consumer revenue decreased 5.6%. Consumer
   strategic revenue was essentially flat. We saw a net loss of about 90,000 broadband
   subscribers this quarter, which were made up of losses of about 140,000 at speeds under 20
   meg and gains of approximately 50,000 in higher-speed offerings.” Defendant Post admitted
   on the call that “Our major loss is on broadband and where we have below 20 megabits of
   spectrum available – speed available.”

          105. The decline in consumer revenue was highly material to CenturyLink because
   CenturyLink’s consumer business represents roughly 25% of the Company’s revenues.

           106. With respect to Capital Expenditures, Defendant Patel stated that “Full year 2017
   capital expenditures were $2.886 billion, which were a bit higher than we expected.” While
   this figure was ostensibly slightly lower than estimates, it was in reality higher, as Patel admitted,
   because excluded from the $2.886 billion in Capex expenses a significant amount of what it
   called “integration-related expenses” from the Capex figure. Thus, CenturyLink’s actual Capex
   expenses were higher than the reported $2.886 figure.

         107. On February 15, 2018, Zacks Equity Research published a report entitled
   “CenturyLink (CTL) Q4 Earnings and Revenues Miss Estimates,” in which it stated:

                  CenturyLink Inc. (CTL - Free Report) reported disappointing financial results in
                  the fourth quarter of 2017, wherein both the top and bottom line missed the Zacks
                  Consensus Estimate. Notably, CenturyLink completed the acquisition of Level 3
                  Communications Inc. in November 2017.

                  Net Income
                  CenturyLink's net income in fourth-quarter 2017 was $1,117 million or $1.26 per
                  share, compared with $42 million or 8 cents in the year-ago quarter. However,
                  adjusted earnings per share of 18 cents lagged the Zacks Consensus Estimate of
                  22 cents.

                  Revenues
                  Total revenues in fourth-quarter 2017 were $5,323 million compared with $4,289
                  million in the prior-year quarter. Revenues also missed the Zacks Consensus
                  Estimate of $5,687 million.

                  Operating Metrics
                  Quarterly operating expenses totaled $4,799 million, decreasing 24% year over
                  year. Operating income increased to $524 million from $405 million in the prior-
                  year quarter. Operating income margin was 9.8% compared with 9.4% in the



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                 year-ago quarter. Adjusted EBITDA decreased to $2,211 million from $2,235
                 million in the year-ago quarter. Adjusted EBITDA margin was 36.8% compared
                 with 36.6% in the year-ago quarter.

                 Cash Flow
                 In 2017, CenturyLink generated $3,877 million of net cash from operations
                 compared with $4,608 million in 2016. In 2017, free cash flow was $771 million
                 compared with $1,627 million in 2016.

           108. On February 14, 2018, the day CenturyLink reported its results, the Company’s
   stock closed at $17.58. By March 23, 2018, the Company’s stock price had declined to $15.52.
   As of the filing of this complaint, the Company’s stock was trading at approximately $17.75, a
   36.6% decline from the $28.00 per share that Level 3 shareholders paid for their CenturyLink
   stock which was issued in the Merger pursuant to the Registration Statement and Prospectus.


                                   FIRST CAUSE OF ACTION
                   For Violation of §11 of the 1933 Act Against All Defendants
          109.   Plaintiff repeats and realleges each preceding paragraph by reference.

          110. This Cause of Action is brought pursuant to §11 of the 1933 Act, 15 U.S.C. §77k,
   on behalf of the Class, against all defendants.

         111. This Cause of Action does not sound in fraud. Plaintiff does not allege that
   Defendants had scienter or fraudulent intent, which are not elements of a §11 claim.

           112. The Registration Statement for the Merger was inaccurate and misleading,
   contained untrue statements of material facts, omitted to state other facts necessary in order to
   make the statements made not misleading, and omitted to state material facts required to be
   stated therein.

          113. Defendant CenturyLink is the registrant and issuer of the Stock sold in the
   Merger. As issuer of the Stock, CenturyLink is strictly liable to plaintiff and the Class for the
   misstatements and omissions in the Registration Statement.

           114. The defendants named herein were responsible for the contents and dissemination
   of the Registration Statement.

          115. None of the defendants named herein made a reasonable investigation or
   possessed reasonable grounds for the belief that the statements contained in the Registration
   Statement were true and without omissions of any material facts and were not misleading.

          116.   By reason of the conduct alleged herein, each defendant violated, and/or



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   controlled a person who violated, §11 of the 1933 Act.

          117. Plaintiff acquired CenturyLink stock pursuant and traceable to the Registration
   Statement for the Merger.

          118. Plaintiff and the Class have sustained damages. The value of CenturyLink stock
   has declined substantially subsequent to and due to defendants’ violations.

           119. At the time of their purchases and acquisitions of CenturyLink stock, plaintiff and
   other members of the Class were without knowledge of the facts concerning the wrongful
   conduct alleged herein. Less than one year has elapsed from the time that plaintiff discovered or
   reasonably could have discovered the facts upon which this complaint is based to the time that
   plaintiff filed this complaint. Less than three years have elapsed between the time that the
   securities upon which this Count is brought were offered to the public and the time plaintiff filed
   this complaint.

           120. By virtue of the foregoing, plaintiff and the other members of the Class are
   entitled to damages under §11 from the Individual Defendants, and each of them, jointly and
   severally.

                                   SECOND CAUSE OF ACTION
                 For Violation of §12(a)(2) of the 1933 Act Against All Defendants
          121.    Plaintiff repeats and realleges each preceding paragraph by reference.

          122. This Count is brought pursuant to §12(a)(2) of the 1933 Act, 15 U.S.C. §77l(a)(2),
   on behalf of the Class, against all defendants.

         123. This Count does not sound in fraud. Plaintiff does not allege that the Individual
   Defendants had scienter or fraudulent intent, which are not elements of a §12(a)(2) claim.

          124. By means of the defective Prospectus, defendants promoted and sold CenturyLink
   stock to plaintiff and other members of the Class for the benefit of themselves and their
   associates.

           125. The Prospectus contained untrue statements of material fact and concealed and
   failed to disclose material facts, as detailed above. Defendants owed plaintiff and other members
   of the Class who purchased or acquired CenturyLink stock pursuant to the Prospectus the duty to
   make a reasonable and diligent investigation of the statements contained in the Prospectus to
   ensure that such statements were true and that there was no omission to state a material fact
   required to be stated in order to make the statements contained therein not misleading.
   Defendants, in the exercise of reasonable care, should have known of the misstatements and
   omissions contained in the Prospectus as set forth above.




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          126. Plaintiff and the other members of the Class did not know, nor in the exercise of
   reasonable diligence could have known, of the untruths and omissions contained in the
   Prospectus at the time plaintiff and other Class members acquired CenturyLink stock.

          127. By reason of the conduct alleged herein, defendants violated §12(a)(2) of the
   1933 Act. As a direct and proximate result of such violations, plaintiff and the other members of
   the Class who purchased or acquired CenturyLink stock pursuant to the Prospectus sustained
   substantial damages. Accordingly, plaintiff and the other members of the Class who hold the
   CenturyLink stock issued pursuant to the Prospectus have the right to rescind and recover the
   consideration paid for their stock, and hereby tender their stock to the defendants sued herein.
   Class members who have sold their stock seek damages to the extent permitted by law.

                                   THIRD CAUSE OF ACTION
                   For Violation of §15 of the 1933 Act Against All Defendants

          128.   Plaintiff repeats and realleges each preceding paragraph by reference.

           129. This Count is brought pursuant to §15 of the 1933 Act against CenturyLink and
   the Individual Defendants.

           130. The Individual Defendants each were control persons of CenturyLink by virtue of
   their positions as directors, senior officers and/or authorized representatives of CenturyLink.
   The Individual Defendants each had a series of direct and/or indirect business and/or personal
   relationships with other directors and/or officers and/ or major shareholders of CenturyLink
   and/or Level 3. The Company controlled the Individual Defendants and all of its employees.

          131. Defendants each were culpable participants in the violations of §§11 and 12(a)(2)
   of the 1933 Act alleged in the Causes of Action above, based on their having signed or
   authorized the signing of the Registration Statement and having otherwise participated in the
   process that allowed the issuance of CenturyLink stock in the Merger to be successfully
   completed.

           132. By reason of such wrongful conduct, the Individual Defendants are liable
   pursuant to §15 of the 1933 Act. As a direct and proximate result of said wrongful conduct,
   plaintiff and other members of the Class suffered damages in connection with their purchase or
   acquisition of CenturyLink stock.




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                                         PRAYER FOR RELIEF

                     WHEREFORE, plaintiff prays for relief and judgment, as follows:

             A.     Declaring this action to be a proper class action and certifying plaintiff as Class

   representative under Colorado Rule of Civil Procedure 23;

             B.     Awarding compensatory damages in favor of the plaintiff and the other Class

   members against all defendants, jointly and severally, for all damages sustained as a result of

   defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;
             C.     Awarding plaintiff and the Class their reasonable costs and expenses incurred in

   this action, including counsel fees and expert fees;

             D.     Awarding rescission or a rescissory measure of damages; and

             E.     Awarding such equitable/injunctive or other relief as the Court may deem just and

   proper.


                                             JURY DEMAND

             Plaintiff hereby demands a trial by jury.


   Dated: June 12, 2018                          Respectfully Submitted,

                                                 Pursuant to Rule 121, Sec. 1-26(7), C.R.P.C., a
                                                 printed or printable copy of this document, with
                                                 original, electronic, or scanned signature, will be
                                                 maintained by the Plaintiff and will be made
                                                 available for inspection by the other parties upon
                                                 request.



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